 Case15-1715
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                 United States Court of Appeals
                                  For the First Circuit
                                      _____________________
 No. 15-1715

                                         JOHN DEVANEY,

                                         Plaintiff, Appellant,

                                                   v.

     TOWN OF NARRAGANSETT, RI; ST. THOMAS MORE CATHOLIC CHURCH; ST.
      PETERS BY-THE-SEA EPISCOPAL CHURCH; ROMAN CATHOLIC BISHOP OF
                               PROVIDENCE,

                                       Defendants, Appellees,

    PETER F. KILMARTIN, Attorney General for the State of Rhode Island and Providence
   Plantations; RICHARD I. KERBEL, Interim Town Manager Town of Narragansett; MOST
   REVEREND THOMAS J. TOBIN, President St. Thomas More Church Narragansett Pier,
  Roman Catholic Bishop of Providence; LINDA O'NEILL, Parish Administrator St. Peters by-
    the-sea Episcopal Church; POPE FRANCIS, The Holy See Vatican City; ARCHBISHOP
 CARLO MARIA VIGANO, Apostolic Nuncio of the Apostolic Nuncature of the Holy See to the
                                       United States,

                                             Defendants.

                                        __________________

                                                Before

                                       Howard, Chief Judge,
                              Torruella and Thompson, Circuit Judges.
                                       __________________

                                            JUDGMENT

                                        Entered: July 12, 2016

          We have carefully reviewed the record in this case. Essentially for the reasons given by
 the magistrate judge in her report and recommendation, dated October 10, 2014, the dismissal of
 all plaintiff/appellant's federal claims, as well as his state law nuisance claim against the Town and
 all claims against the Roman Catholic Bishop of Providence, is affirmed. The remaining state law
 claims are dismissed without prejudice.
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                                             By the Court:

                                             /s/ Margaret Carter, Clerk




 cc:
 John Devaney
 Rebecca Tedford Partington
 Maria R. Corvese
 Marc DeSisto
 Howard A. Merten Jr.
 Eugene G. Bernardo II
 Alexandra Gordon
 Joseph M. Desmond
